                                                   THIRD DIVISION
                                                   February 20, 2002


No. 1-97-3926
THE PEOPLE OF THE STATE OF ILLINOIS,    )    Appeal from the
                                             )     Circuit Court of
      Plaintiff-Appellee,                    )     Cook County.
                                             )
            v.                               )
                                             )
KEVIN HAMILTON,                              )     Honorable
                                             )     John E. Morrissey,
      Defendant-Appellant.              )    Judge Presiding.

     JUSTICE WOLFSON delivered the opinion of the court:
      Kevin Hamilton literally talked himself into the penitentiary.  His
conviction by a jury of the first degree murder of Curtis Jackson was based
almost entirely on his oral and written statements.  He was sentenced to 41
years in the Department of Corrections.
      On appeal, the defendant contends: (1) his statement should
have been suppressed; (2) too much gang life evidence was
admitted; (3) his prior conviction for possession of a controlled
substance should not have been admitted to impeach his
credibility; (4) he was denied a fair trial when the State made
improper remarks during closing argument; and (5) his sentence
was based on an improper factor and was excessive.  We affirm the
defendant's conviction and sentence.
FACTS
      Curtis Jackson was shot seven times and killed as he talked to
someone in a small white car at 41st and Indiana Streets in
Chicago shortly after midnight on July 9, 1995.  Very little
progress in the police investigation of the death was made until February
13, 1996, when
Officer David Case arrested the defendant for unlawful use of a weapon.
      Case testified that while outside the car defendant told him
he did not want to go to jail.  Once inside the car, defendant
again said he did not want to go to jail, and asked "would it
help if he knew about a murder."
      Case showed no immediate interest in the defendant's inquiry.  He
took the defendant to the 9th District and processed him for the unlawful
use of a weapon.  Again, defendant said he had information about a murder.
He gave Case the name of the victim, Curtis Jackson, and he gave him the
location in Area 1 where the murder happened.  Case began to take the
defendant seriously.  He notified detectives from Area 1 that the defendant
was in custody and had information about the murder of Curtis Jackson.
      Two Area 1 detectives, Cegielski and Crescenzo, went to the
9th District on the morning of February 14.  They read the
defendant his rights.  The defendant described his role in the
shooting of Jackson and told them where they could find the
shooter, Shaboo.  They arrested Shaboo and brought him to the
station.  The defendant later identified Shaboo as the shooter.
      ASA Elaine Wisnosky arrived at the police station in the late morning
of February 14.  She had two unrecorded conversations with the defendant,
and then, at about 6:46 to 7:10 that evening, the defendant gave a court-
reported statement.  She reviewed the completed statement with the
defendant and allowed him to make corrections to it.  She read it to the
jury.
      The confession sets out the defendant's role in the murder and the
reason for it in exhaustive detail.  At trial, the defendant did not deny
he made the statement.  Nor did he say he made it involuntarily or that he
was treated badly.  He admitted he told Officer Case he did not want to go
to jail and that he wanted to make a deal.  But at all times, said the
defendant, he was merely repeating what he had been told by the police
officers and by people he knew, including Shaboo.  He made the untrue
statements, he said, because the officers led him to believe the unlawful
use of a weapon charge would be dropped and he would be allowed to go home.
 In fact, he said, he was shocked when he realized he was being charged
with first degree murder.
      Each police witness denied feeding the defendant any
incriminating information and denied promising him he could go
home once the statement was made.  Cegielski's testimony about
what the defendant told him mirrored the defendant's
court-reported statement to ASA Wisnosky.
      Because the contents of the defendant's confession play the
leading role in this appeal, we summarize it in some detail:
     Kevin Hamilton was 23 years old at the time of the statement; he
attended high school for one year and then got his GED.  In July of 1995,
when the shooting occurred, he was living at 4445 South Evans in apartment
1610.  He remembered the day of July 8, 1995, because that was the day that
Randy, a fellow Blackstone, was killed.  The defendant was a member of the
Blackstone street gang and had been for seven years.  The Blackstone's
territory is the building at 4445 South Evans.  He held a position within
the gang as a "motif."  He had been a motif for seven months and prior to
that he was a "soldier."  A motif's role, according to defendant, is to
secure the members of the gang with higher rank.  The hierarchy of the gang
is as follows: generals, motifs, key soldiers, and soldiers.  He was a
soldier before he was a motif.  Randy was an emir in the gang, an enforcer,
"hit man of the nation," a higher rank than the defendant.  Ranks within
the gangs are called different names in different areas of the city.  The
ranks at 4445 South Evans were angels, emirs, mutoddys, and magalises.
      When Randy was killed on July 8, 1995, the Blackstones called a
meeting.  He attended the meeting because it was mandatory.  The meeting
took place at 4445 South Evans.  Defendant then gave names of specific
people who attended the meeting.  At the meeting, the gang discussed the
killing of Randy by the Mafia Insane Vice Lords, a rival gang.  The Mafia
Insane Vice Lords are the "opposition" of the Blackstones on 4445 South
Evans.  At the meeting, they gave prayer for Randy's passing, and talked
about how it was war between 4445 South Evans and the 4120 building,
between the Blackstones and the Mafia Insane Vice Lords.  By the word
"war," the defendant said he meant retaliation, "Like eye for eye.  They
kill one of us; so we kill one of them."  He said that they decided to
retaliate because Randy was the emir and he had rank.
      After the meeting, he went downstairs to the fifth floor of 4445
South Evans to see his friend Saladine.  They drank, smoked, and watched a
movie.  He then left there and went upstairs to "Shaboo's" apartment to
play cards and drink.  At the time he had known Shaboo for a few weeks.
Shaboo has several aliases, including Lee Joyson and Shelby Mitchell.
Shaboo was also at the meeting and he stated that somebody had to pay for
the death of Randy, "either hell or jail," but he was going to make it
right for his brother.  When he was up in Shaboo's apartment, they decided
to walk up to the Bootlegger to get something to drink.
      When defendant and Shaboo exited the front door and started to walk
towards 43rd and Evans, where the Bootlegger lady was, a white car pulled
up in front of 4445 South Evans.  There was a heavy-set black male driving
the car and no one else was inside the car.  He didn't remember the make or
year of the car, but believed it was "like an Escort, Tempo, or something
like that, a small car."  The car had four doors.  Shaboo walked over to
the guy in the car and started to have a conversation; defendant stayed
back on the sidewalk.  After Shaboo finished talking to the man in the car,
he opened the door, and before he got in on the passenger front side, he
said "come on" to defendant.  Defendant walked over to the driver-side door
and got in the back seat.
      They then drove over to the area where Randy had been shot in Mafia
Insane Vice Lord territory.  They drove around there with the purpose of
retaliation against the Mafia Insane Vice Lords.  While they were in the
car, Shaboo bent down and was fiddling with his leg or shoe or something.
When he came back up, he had a chrome .9 millimeter Smith and Wesson.  He
passed it to defendant in the back seat.  Defendant asked Shaboo what he
wanted him to do with it, and he said "just hold it."  Defendant took it
and held it while they kept driving around.
      They saw the victim, Curtis Jackson, at the corner of 41st and
Indiana.  He was in front of the liquor store on that corner.  Upon seeing
the victim, Shaboo said, "there go one of them bitches there."  Defendant
stated that he understood that to mean that Curtis Jackson was a Mafia
Insane Vice Lord.  The man driving the car stopped across the street from
the liquor store and Shaboo signaled for Curtis Jackson to come over to the
car.  Mr. Jackson walked over to the car.  He was wearing a tee shirt,
jeans, and a red cap turned to the left.  A cap turned to the left
represents People.  Both the Mafia Insane Vice Lords and Blackstones are
members of People.  Even though these two gangs were within People, it was
not unusual for them to be at war.  The defendant did not think that Mr.
Jackson was a gang member, he thought that he was a bum or something like
that.
      When Mr. Jackson walked up to the car, Shaboo asked him to buy beer
for them.  Jackson said he would, and the driver gave him some money.  Mr.
Jackson then went back across the street and inside the liquor store.  Once
Mr. Jackson walked away from the car, Shaboo said to defendant, "Give me
that," referring to the gun.  The defendant then gave Shaboo the gun.  The
defendant knew, at that point, Shaboo was going to shoot Mr. Jackson
because he thought he was a Mafia Insane Vice Lord.
      Mr. Jackson then exited the store and walked over to the car.  He
started to walk towards the driver's side door, and Shaboo said to him,
"No, hold it, bring it over here to the passenger side."  Mr. Jackson
walked to the passenger side and handed Shaboo the beer.  Shaboo said
"thank you" and then shot him six or seven times.  Mr. Jackson was standing
outside of the car and the bullets hit him in the chest and neck.  Mr.
Jackson "folded up like he was trying to protect himself," and then fell to
the ground.
      The driver sped off down 41st street and back to 4445 South Evans.
Defendant got out of the car, flashed the Blackstone's gang sign at the
driver, referred to as "extending five," and then Shaboo said something to
the driver and flashed the gang sign as well.  Defendant and Shaboo walked
to the back of the building where there was a hole in the gate.  The hole
in the gate was used by the gang members to get guns in and out of the
building.  Shaboo put the gun through the hole and someone was there to
retrieve it.  They then went around to the front of the building and up to
Shaboo's apartment.  When they got into the apartment, there were other
people there and Shaboo said to them, "We just did this dude right...you
should have seen Butterfly's face...when he was shot."  They then drank
some beer and played cards for several hours.
      In addition to his testimony about why he made the statement,
defendant denied playing any part in the shooting.  He admitted being a
member of the gang, but denied he was a motif at the time of the shooting.
      In addition to the defendant, the defense called an alibi
witness, Patricia Turnercobb, who said the defendant was at her
home, at her daughter's birthday party, on the night of the
shooting.  Also present, she said, were her daughters, son,
grandchildren, and goddaughter.  None of the others testified.      The
jury returned a guilty verdict.  The defendant was
sentenced to a term of 41 years.  This appeal followed.
DECISION
                       Admissibility of the Confession
      This case is before us for the second time.  On September 9,
1999, we issued a Rule 23 Order reversing the trial court's
denial of the defendant's motion to quash arrest and suppress
evidence.  We held the defendant's initial arrest by Officer Case
was unlawful.  We remanded the case to the trial court with
instructions to conduct an attenuation hearing to determine
whether there was "sufficient evidence to purge defendant's
confession from the taint of the unlawful arrest."  People v.
Hamilton, No. 1-97-3926 (1999) (unpublished order per Supreme
Court Rule 23.
      On remand, the trial court conducted the hearing.  Officer  Case
testified to defendant's willingness to share information  about the
Jackson murder.  Case described his call to Area 1 detectives and his own
exit from the 9th District and any further contact with the defendant.
      The trial court recognized, and we agree, that there is ample
evidence the defendant willingly and for his own purposes made his
statements to ASA Wisnosky and the Area 1 detectives.  They had nothing to
do with the defendant's original arrest and
unlawful detention.  Case knew nothing about the Jackson murder
when he arrested the defendant.  It was uncontested that all
questioners gave defendant his Miranda rights before statements
were made.
      We believe the trial court correctly held the prosecution
proved by clear and convincing evidence the defendant's
various statements were acts of free will, "unaffected by the
initial illegality."  Brown v. Illinois, 422 U.S. 590, 603; 45 L.
Ed. 2d 416, 427; 95 S. Ct. 2254, 2261 (1975).  That is,
intervening events, centering on his desire to win favorable
treatment from the State on an unrelated charge, persuade us the
defendant's statements were not the product of the unlawful
arrest.  See People v. Gabbard, 78 Ill. 2d 88, 398 N.E.2d 574 (1979).
Admitting the defendant's statements was not error.
                           The Gang Life Evidence
      Officer David Jarmusz, a gang crimes specialist assigned to
the Chicago Police Department's organized crime division, was
allowed to testify as an expert witness on gang life, structure,
and behavior.  He told the jury how the 135 street gangs in the
Chicago area are divided and which areas they control.  He offered details
of gang lingo, symbols, tattoos, and graffiti the gang use to symbolize
their allegiance and to establish their
identity.  He explained gang hierarchy, which ranges from
soldiers, key soldiers, emirs, motifs, ambassadors, generals,
princes, Main 21's, and Chief Malik--at that time, Jeff Fort.  He
discussed the turf wars that arise from time to time because of
disputes arising out of the "sale and distribution of narcotics."
      Officer Jarmusz was shown a photograph of the defendant.  The photo
showed tattoos on the defendant's left chest and right arm.  The officer
identified them as gang tattoos commonly used by Blackstones--the gang in
which defendant admitted membership.  Officer Jarmusz's testimony
paralleled the defendant's
court-reported statements about the ranks and duties of
Blackstones and the hand signs used by gang members.
      The defendant agrees, as he must, that some evidence of gang
behavior was relevant.  After all, it was the defendant's
confession that established how the inner workings of the
Blackstones led to the death of Curtis Jackson.  Defendant's rank
as a motif and the gang's desire to avenge Randy's death
established the motive and the plan for deadly revenge.
      Still, says the defendant, there was too much detail about
gang life in Jarmusz's testimony and in the confession heard by
the jury.  He contends details about graffiti, tattoos, and drug
sales had nothing to do with the defendant's motives and for that
reason, especially when taken with the State's final argument
comments about gang structure and behavior, reversible error was
committed.  We do not agree.
      We recognize there may be strong prejudice against street
gangs in the Chicago area.  People v. Smith, 141 Ill. 2d 40, 58, 565 N.E.2d
900 (1990).  At the same time, evidence of gang membership and gang
rivalries becomes relevant when it establishes the reasons for deadly gang
behavior.  See People v. Colon, 162 Ill. 2d 23, 30, 642 N.E.2d 118 (1994).
Relevant gang evidence is not excluded simply because it may have a
tendency to prejudice the accused.  People v. Patterson, 154 Ill. 2d 414,
458, 610 N.E.2d 16 (1992).
      In Patterson, expert testimony, using photographs, about
gang membership and allegiances was held relevant to explain the
"defendant's expressed motivation behind the otherwise
inexplicable murders."  People v. Patterson, 154 Ill. 2d at 459.  There, as
here, the motive for the crime--pursuit of gang
goals--was not theoretical, but was admitted by the defendant.  We have
said on several occasions gang evidence is admissible to
explain what otherwise would appear to be a random and
inexplicable attack.  People v. Resendez, 273 Ill. App. 3d 751,
753-54, 652 N.E.2d 1357 (1995); People v. Ayala, 208 Ill. App. 3d
586, 594, 567 N.E.2d 450 (1990).
      We do agree with the defendant that the torrent of detail
concerning gang life, especially the prevalence of gang tattoos
and the competitive narcotics sale enterprises, was unnecessary
piling on.  The trial court should have done some editing.  But
the decision to admit gang evidence is not to be overturned on
appeal "unless a clear abuse of discretion is shown."  People v.
Colon, 162 Ill. 2d at 30.  Also see People v. Gonzalez, 142 Ill.
2d 481, 489-90, 568 N.E.2d 864 (1991).
      The defendant's case for reversible error relies on People v. Mason,
274 Ill. App. 3d 715, 653 N.E.2d 1371 (1995).  There, admission of
excessive detail about gang life other than organizational structure was
held to be reversible error.  But in Mason facts about gang rivalries,
presentment, graffiti, tattoos, and drug sales were not relevant to motive
because the defendant and victim were members of the same gang.  That is
not the case here.  We hold, despite the expert's testimonial overkill,
there was no reversible error.
                   Use of the Defendant's Prior Conviction
      The trial court denied the defendant's motion to bar the
State from using his prior conviction for possession of a
controlled substance for impeachment purposes.  Relying on that
ruling, defense counsel elicited the fact of conviction on direct
examination.
      The State does not contend the defendant forfeited the
proposed error by eliciting the conviction on direct examination.  See
Ohler v. United States, 529 U.S. 753, 146 L.Ed. 2d 826, 120 S.Ct. 1851(2000).  It does say the trial court properly weighed the probative value
of the conviction against the danger of unfair prejudice and thus did not
abuse its discretion.  The court said:
      "I find that the prejudicial value, prejudicial aspect  of that
conviction does not outweigh probative value.  Possession
controlled substance is [sic] a relatively minor felony, and is not
naturally prejudicial to the charge of first degree murder.  So the motion
is denied***."
      While the probative value of a controlled substance
conviction is far from overwhelming, it is apparent the trial
court did perform a weighing test of sorts, something it is
charged with doing.  People v. Bramlett, 276 Ill. App 3d 201, 207, 658
N.E.2d 510 (1995).  We find enough probative value and enough of a weighing
test to conclude the trial court did not abuse its discretion when it
allowed the prior conviction.  See People v. Williams, 173 Ill. 2d 48, 670
N.E.2d 638 (1996).
              Whether There Was Proof Beyond a Reasonable Doubt
      Defendant's court-reported confession hangs over his failure
of proof claim like a dark cloud.  It tells a detailed and
persuasive story of mindless gang revenge.  Much of it meshes with the
other evidence--a firearms examiner finding .9 millimeter shell casings at
the scene, a witness seeing Jackson talk to one or more persons in a white
car at 41st and Indiana  just before the shooting, and the recent demise of
fellow gang member, Randy.
      Defendant's confession creates legal accountability for the
murder.  It shows him aiding and abetting Shaboo in the planning
and commission of the offense.  He said he held the gun and he
said he handed it to Shaboo just before the killing.  That is
legal accountability, under the cases and the statute.  See
People v. Hill, 53 Ill. App. 3d 280, 368 N.E.2d 714 (1977); 720
ILCS 5/5-2 (West 1994).
      In order to return a not guilty verdict the jury would have
had to give credence to the defendant's claim he merely was
repeating what he had been told and he confessed because he
believed the police when they said the weapons charge would be
dropped and he would be sent home.  The jury's guilty
verdict obviously relied on the confession.  We will not second
guess determinations of witness credibility and testimonial
weight reached by the trier of fact.  People v. Steidl, 142 Ill.
2d 204, 226, 568 N.E.2d 837 (1991).  We conclude there was sufficient
evidence to support the jury's verdict.

                        The State's Closing Arguments
      The defense contends several closing argument remarks by the
prosecution constituted reversible error.  We have examined the
State's comments and find they do not, singly or together, rise
to the level of reversible error.  The bounds of permissible comment may
have been exceeded on occasion, but we recognize "the verdict must not be
disturbed unless it can be said that the remarks resulted in substantial
prejudice to the accused, such that absent those remarks the verdict would
have been different."  People v. Byron, 164 Ill. 2d 279, 295, 647 N.E.2d
946 (1995).
      We are especially troubled by two of the State's comments:
      "You don't have to buy that.  That's a joke.  It's an insult to your
intelligence.  Why don't the detectives just throw their
badges in the toilet?  Why don't the State's Attorneys just throw
their law degrees in the toilet too?"
      And, "this is a defense of desperation.  They [defense attorneys]
know this puts him in jail.  They've got to think of something."
      We have examined the defense final argument and we find no
support for the State's claim that its comments were invited.
      We continue to be puzzled by the State's willingness to risk
the integrity of convictions by making comments we repeatedly
have held cross the line of propriety.  The prosecution cannot use its
official position to bolster witness credibility.  See People v. Fields,
258 Ill. App. 3d 912, 920-21, 631 N.E.2d 303 (1994); People v. Montgomery,
254 Ill. App. 3d 782, 793-96, 626 N.E.2d 1254 (1993).  Nor can it accuse
defense counsel of fabricating a defense.  People v. Emerson, 97 Ill. 2d
487, 497, 455 N.E.2d 41 (1983).
      Disapproval of argument aside, we conclude the defendant was
not deprived of a fair trial.
                         The 41-year Prison Sentence
      We find nothing in the record that supports the defendant's
claim that the trial judge improperly considered the victim's
age, 39, when pronouncing sentence.  The court simply was
describing the victim--"a poor unfortunate resident from the
south side, an older person."
      Nor can we say the length of the sentence was an abuse of
the trial court's sentencing discretion.  It was well within the
statutory range of 20 to 60 years (See 730 ILCS 5/5-8-1(a)(1)(a)
(West 1994), and "proportionate to the nature of the offense and
the possibilities of rehabilitation."  People v. D'Arezzo, 229
Ill. App. 3d 428, 434, 593 N.E.2d 1076 (1992).  We find no error in the
sentencing.
                                 CONCLUSION
      While this was not a perfect trial, as we have noted above,
we believe the defendant received a fair trial.  For that reason
we affirm the defendant's conviction and sentence.
      AFFIRMED.
      HOFFMAN, P.J., concurs.

      Justice South concurring in part and dissenting in part:
      While I do concur with the majority that the trial court did not err
in admitting defendant's statements, I must respectfully dissent with that
portion of the opinion which holds that the admission of the gang life
evidence did not deprive defendant of a fair trial.
      There is no question that motive was an issue in this case, and that
element was firmly established by the admission of defendant's statement
that the shooting was done in retaliation for the earlier homicide of a
fellow gang member. However, the gang life testimony of Officer Jarmusz far
exceeded that quantum of evidence which was necessary to establish motive
or corroborate certain portions of the statement.  What may have started
out as corroborative testimony burgeoned into an exposition on the
pervasiveness and evils of street gangs in Chicago, the only conceivable
purpose of which was to prejudice defendant in the eyes of the jurors.
Even the majority acknowledges that the "torrent of detail concerning gang
life" was "testimonial overkill."
      The central issue was whether defendant was present at the scene of
the crime and, therefore, accountable for the victim's murder.  There was
no physical evidence or eyewitness testimony linking defendant to the crime
scene.  In fact, there was some discrepancy between defendant's statement
that the victim was shot at close range as he was standing next to the car
and the medical examiner's testimony that there was no evidence of close-
range firing.  The only evidence the State presented linking defendant to
the crime scene was his confession, which he challenged through his
testimony that he was not present at the scene of the murder and that his
statements to the police were based solely upon what was told to him by
others who were actually there, and that he was simply telling the police
what they wanted to hear in an effort to "deal" his way out of prison.
Whether or not this court finds his testimony credible is irrelevant, for
it is not our job as a court of review to reweigh the evidence and
determine matters of credibility.
       In this case, the fairness of defendant's trial was severely
compromised by the introduction of what I believe to be highly irrelevant,
inflammatory and excessive gang testimony.  The admission of this evidence
brings into serious question whether the jury fairly considered defendant's
alibi evidence through the testimony of Patricia Turnercobb and his
testimony regarding the circumstances surrounding his statements.  I find
it highly unlikely that the jury could have ignored this "torrent" of
"overkill" when evaluating the defense.
      Officer Jarmusz had absolutely no knowledge about this case,
defendant or the circumstances surrounding the arrest and was called solely
for his expertise on street gangs. Rather than establish motive, he simply
gave the jury a crash course on Chicago's street gangs.   Furthermore, his
testimony that feuds and wars between gangs within the "People" erupt from
time to time due to turf control problems arising out of the "sale and
distribution of narcotics" implied that defendant was dealing in drugs, an
implication not supported by the record.  Not only was the probative value
of that evidence far outweighed by its prejudicial impact, it permitted the
jury to draw insupportable inferences of other crimes.
      The majority distinguishes Mason based upon the fact that the
defendant and the victim in that case were members of the same gang,
whereas in the instant case the defendant and victim were members of
opposing gangs.  I find that to be a distinction without a difference.
What Mason held was that while the organizational structure of the Gangster
Disciples was relevant to the State's case in order to demonstrate
defendant's possible motive for shooting the victim, the facts about gang
rivalries, presentment, graffiti, tattoos and drug sales clearly did not go
to motive.  Mason, 274 Ill. App. 3d at 722.  Similarly, in the instant
case, while the organizational structure of the Blackstones, the Mafia
Insane Vice Lords and their umbrella organization, the "People,"  might
have been relevant to demonstrate defendant's motive for participating in
the murder of a suspected member of a gang within the "People"
organization, the facts about graffiti, tattoos, logos, hand signals,
clothing and drug sales clearly did not prove or establish motive.
      While the majority does not use the phrase "harmless error," I assume
that is what is meant when they find that in spite of these errors
defendant received a fair trial.  However, since the evidence in this case
was far from overwhelming and rested solely upon defendant's challenged
statements, harmless error is not the escape hatch we should utilize in
placing our imprimatur on what I deem to be an unfair trial.
      For these reasons, I would reverse and remand the cause for a new
trial.
